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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                          Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



     DECLARATION OF JEREMY BLIETZ ON BEHALF OF THE WARNER/CHAPPELL
        PLAINTIFFS IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

            I, Jeremy Blietz, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

            1.         I am currently employed as Vice President, Administration at Warner/Chappell

     Music, Inc. I have worked in the music industry for 25 years. I have held my current position or a

     similar position at all times relevant to this declaration. I have personal knowledge of the facts set

     forth below and/or have learned of these facts as a result of my position and responsibilities at

     Warner/Chappell Music and could and would testify competently thereto if called as a witness.

            2.         Plaintiffs Warner/Chappell Music and its affiliates Warner-Tamerlane Publishing

     Corp., WB Music Corp., W.B.M. Music Corp., Unichappell Music Inc., Rightsong Music Inc.,

     Cotillion Music, Inc., and Intersong U.S.A., Inc., (collectively, “Warner/Chappell”) are full-

     service music publishing companies that collectively exploit a diverse catalog of over one million

     songs, including numerous pop hits, American standards, folk songs and motion picture and

     theatrical compositions.

            3.         I am generally familiar with Warner/Chappell’s practices and procedures for

     acquiring, administering, publishing, licensing, and otherwise exploiting its catalogue of songs. I
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 am also familiar with the books and records of Warner/Chappell, including documents such as

 copyright certificates and agreements pursuant to which Warner/Chappell possesses rights in the

 musical compositions at issue in this litigation.

        4.      I understand that this declaration is to be submitted to the Court in connection with

 requests for discovery and a motion to compel filed by Defendants Cox Communications, Inc. and

 CoxCom, LLC (collectively, “Defendants” or “Cox”).

        5.      Musical compositions are the foundation of Warner/Chappell’s business. In the

 course of regular operations, Warner/Chappell’s routine practice is to obtain copyright ownership

 of its songs through registrations with the U.S. Copyright Office or other transactions.

        6.      There are eight Warner/Chappell music publishing companies included as Plaintiffs

 in this case. Warner/Chappell owns more than 1.4 million compositions worldwide, of which

 approximately 500,000 have been registered for copyright protection in the U.S.

        7.      Warner/Chappell is producing documents that demonstrate its ownership of its

 works in this case. Production of every document that may have been generated in the course of

 acquiring a copyright would be extremely burdensome. That is because the process for obtaining

 the rights to a composition is extensive. A publishing company typically obtains rights to a

 composition either by directly entering into an agreement with a songwriter or indirectly by

 acquiring catalogs from other companies, or by acquiring other companies (who themselves have

 entered into the direct agreements with songwriters). The acquisition of any single composition

 may involve agreements and communications between many people, correspondence with

 copyright owners and their representatives, drafts and negotiations of agreements and licenses,

 input from lawyers or musicologists, and the like. The files containing these various materials,

 including the agreements and the licenses themselves, are not kept in a central location. Rather,




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 they are located in the files of the various publisher entities and others who may be involved in

 any individual licensing situation.

        8.      The same is true for documents concerning any questions, challenges, uncertainties

 or disputes regarding the validity or ownership of Warner/Chappell’s copyrights in musical

 compositions. Searching for documents regarding any challenges or disputes regarding the

 validity or ownership of Warner/Chappell’s copyrights could involve many employees, including

 attorneys. Warner/Chappell would not include works in its repertoire if a challenge to its

 ownership or validity of its copyrights was successful and, likewise, would not have included such

 works in this lawsuit.

        9.      An effort to locate, collect and review all of the documentation associated with

 Warner/Chappell’s ownership of copyrights in musical compositions—including the validity,

 ownership, chain of title, artist agreements, challenges or disputes, and all forms of assignments

 and licenses for a decade—would be an enormous undertaking. I estimate that additional tens of

 thousands of documents would need to be located, collected and reviewed in such an effort. This

 process would require thousands of hours of employee time in addition to the substantial time and

 expense required by in-house and outside attorneys to manage this process. I would estimate that

 the expense of such an undertaking could easily cost hundreds of thousands of dollars or more.




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         I declare under penalty of perjury under the laws of the United States that the foregoing is

 true and correct.



 Executed this 23 rd day of January, 2019.
